Case 4:17-cv-00042-CDL Document 19-2 Filed 09/28/17 Page 1 of 10




           EXHIBIT A
Case 4:17-cv-00042-CDL Document 19-2 Filed 09/28/17 Page 2 of 10
Case 4:17-cv-00042-CDL Document 19-2 Filed 09/28/17 Page 3 of 10
Case 4:17-cv-00042-CDL Document 19-2 Filed 09/28/17 Page 4 of 10
Case 4:17-cv-00042-CDL Document 19-2 Filed 09/28/17 Page 5 of 10
Case 4:17-cv-00042-CDL Document 19-2 Filed 09/28/17 Page 6 of 10
Case 4:17-cv-00042-CDL Document 19-2 Filed 09/28/17 Page 7 of 10
Case 4:17-cv-00042-CDL Document 19-2 Filed 09/28/17 Page 8 of 10
Case 4:17-cv-00042-CDL Document 19-2 Filed 09/28/17 Page 9 of 10
Case 4:17-cv-00042-CDL Document 19-2 Filed 09/28/17 Page 10 of 10
